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  8                           UNITED STATES DISTRICT COURT
  9                                    DISTRICT OF CALIFORNIA
 10

 11   LORETTA REYNA,                                          No. 2:23-cv-08456-CBM-PVCx
 12                       Plaintiff,
 13          v.                                               ORDER RE: PLAINTIFF’S
                                                              MOTION FOR ENTRY OF
 14   FREDERICK DEBT MANAGEMENT                               DEFAULT JUDGMENT [17]
 15   LLC,
 16                       Defendant.
 17

 18
            The matter before the Court is Plaintiff Loretta Reyna’s Motion for Entry of
 19
      Default Judgment. (Dkt. No. 17.) Having considered the entire record in this case
 20
      (including the Complaint and the Motion), pursuant to Federal Rule of Civil
 21
      Procedure 55 and Local Rule 55-1, the Court finds as follows:
 22
            1.        On October 6, 2023, Plaintiff filed the Complaint asserting one cause
 23
      of action against Defendant Frederick Debt Management, LLC for violations of the
 24
      Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692g and 1692e.
 25
      (Dkt. No. 1.)
 26
            2.        Plaintiff filed proof of service reflecting service of the summons and
 27
      Complaint on Defendant on October 26, 2023. (Dkt. No. 11.)
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  1         3.     On March 1, 2024, the clerk entered default against Defendant. (Dkt.
  2   No. 13.)
  3         4.     Defendant was served with the Motion on June 27, 2024. (See Dkt.
  4   No. 17.)
  5         5.     Defendant’s opposition to the Motion was due on July 16, 2024 based
  6   on the noticed hearing date (see L.R. 7-9) but no opposition was filed. Defendant
  7   did not appear at the August 6, 2024 hearing.
  8         6.     Defendant is not an infant or incompetent person, is not on active duty
  9   with the Uniformed Services of the United States.
 10         7.     The Court finds the factors in Eitel v. McCool, 782 F.2d 1470, 1471-72
 11   (9th Cir. 1986), weigh in favor of granting the instant Motion for Entry of Default
 12   Judgment.
 13                a.     The Complaint pleads sufficient facts to state a claim for
 14   violation of 15 U.S.C. § 1692g of the FDCPA. (See Compl. ¶¶ 3, 4, 6-14, 20, 28-
 15   30, Ex. A.) See Kraus v. Cap. Link Mgmt., LLC, 2022 WL 19076803, at *3 (C.D.
 16   Cal. Oct. 28, 2022).1 Therefore, the Eitel factors regarding the merits of Plaintiff’s
 17   claim pursuant to 15 U.S.C. § 1692g of the FDCPA and the sufficiency of the
 18   Complaint weigh in favor of granting default judgment.
 19                b.     Defendant has not answered or otherwise responded to the
 20   Complaint, has not filed an opposition to the Motion, and has not appeared in this
 21   action. Therefore, Plaintiff will likely be prejudiced if default judgment is not
 22   entered because Plaintiff would be without further recourse. See Simple Design
 23   Ltd. V. Enerjoy Ltd., 2024 WL 1813486, at *2 (C.D. Cal. Jan. 5, 2024); Sunteck
 24
      1
 25     The Complaint fails to plead sufficient facts to state a claim for violation of 15
      U.S.C. § 1692e because the Complaint alleges Defendant’s failure to comply with
 26   15 U.S.C. § 1692g’s disclosure requirements constituted a violation of 15 U.S.C. §
      1692e (Compl. ¶ 30) but Plaintiff does not allege any additional facts as to any
 27   other conduct by Defendant, nor allege nor identify any “false, deceptive, or
      misleading representation” by Defendant in connection with collection of a debt
 28   from Plaintiff. See 15 U.S.C. § 1692e.
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  1   Transp. Co., LLC v. Domestic Carrier, Inc., 2022 WL 17348190, at *3 (C.D. Cal.
  2   Sept. 19, 2022); Yelp Inc. v. Catrin, 70 F. Supp. 3d 1082, 1094 (N.D. Cal. 2014).
  3                c.    The amount sought is derived from statutory damages, actual
  4   damages, and reasonable attorneys’ fees and costs (see Compl., Prayer for Relief),
  5   and therefore the amount of money at stake factor weighs in favor of default
  6   judgment. See Nordyke v. Summit Receivables, 2018 WL 2732455, at *4 (E.D. Cal.
  7   June 7, 2018), report and recommendation adopted sub nom. Nordyke v. Summit
  8   Recievables, 2018 WL 4773875 (E.D. Cal. July 17, 2018).
  9                d.    Defendant has not filed an opposition to the Motion nor filed a
 10   response to the Complaint challenging the sufficiency of the allegations, or
 11   otherwise appeared in this action despite having been served with the Summons and
 12   Complaint and the Motion. Accordingly, there is little possibility of a dispute
 13   concerning material facts and there is no evidence before the Court demonstrating
 14   Defendant’s default resulted from excusable neglect. See Kaloustian v. FarMar L.
 15   Grp., PC, 2022 WL 18397630, at *6 (C.D. Cal. Nov. 1, 2022); Bernardo v. Davis
 16   Davis & Assocs. LLC, 2022 WL 2101910, at *5 (C.D. Cal. Mar. 31, 2022);
 17   Landstar Ranger, Inc. v. Parth Enters., Inc., 725 F. Supp. 2d 916, 922 (C.D. Cal.
 18   2010); Essayli v. Diaz & Assocs., Inc., 2021 WL 6752170, at *3 (C.D. Cal. Nov.
 19   16, 2021); Garcia v. Armin, O’Conner & Boch, LLC, 2020 WL 13303718, at *5
 20   (C.D. Cal. Dec. 3, 2020); Cantu v. A R Client Servs. LLC, 2020 WL 6114915, at *1
 21   (C.D. Cal. Aug. 18, 2020).
 22                e.    Defendant’s failure to answer or participate in this action makes
 23   a decision on the merits impracticable, and therefore the policy favoring a decision
 24   on the merits does not preclude the Court from entering default judgment. See
 25   PepsiCo, Inc. v. Cal. Sec. Cans, 238 F. Supp. 2d 1172, 1177 (C.D. Cal. 2002);
 26   Hall-Jones v. Golden State Credit Serv., Inc., 2021 WL 6496730, at *5 (C.D. Cal.
 27   July 29, 2021); Freligh v. Roc Asset Sols., LLC, 2016 WL 3748723, at *6 (N.D.
 28   Cal. June 8, 2016), report and recommendation adopted, 2016 WL 3747616 (N.D.
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  1   Cal. July 11, 2016).
  2         8.     Considering “the frequency and persistence of noncompliance by the
  3   debt collector, the nature of such noncompliance, and the extent to which such
  4   noncompliance was intentional,” see 15 U.S.C. § 1692k(b)(1), there are no facts
  5   alleged regarding multiple, repeated violations of the FDCPA, egregious conduct,
  6   or willfulness to support an award of the maximum $1,000 statutory damages
  7   amount sought by Plaintiff under the FDCPA. Cf. Kaloustian, 2022 WL 18397630,
  8   at *7. Because the Complaint alleges a single violation of the FDCPA based on
  9   failure to provide disclosures required under 15 U.S.C. § 1692g within five days of
 10   Defendant’s initial communication with Plaintiff, the Court awards $350 in
 11   statutory damages under the FDCPA. See Hall-Jones, 2021 WL 6496730, at *4;
 12   Freligh, 2016 WL 3748723, at *7.2
 13                                      *      *      *
 14         Accordingly, the Court GRANTS Plaintiff’s Motion for Entry of Default
 15   Judgment and awards $350 in statutory damages to Plaintiff.
 16         Plaintiff shall file a motion for attorneys’ fees and costs no later than
 17   August 30, 2024.
 18

 19         IT IS SO ORDERED.
 20

 21
      DATED: August 15, 2024.
                                             CONSUELO B. MARSHALL
 22                                          UNITED STATES DISTRICT JUDGE
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 26    The Complaint fails to allege any actual damages suffered by Plaintiff, nor allege
      Plaintiff experienced any emotional distress, mental anguish or invasion of privacy,
 27   and Plaintiff fails to submit any evidence to support an award for actual damages.
      See Televideo Sys., Inc. v. Heidenthal, 826 F.2d 915, 917-18 (9th Cir. 1987);
 28   Kaloustian, 2022 WL 18397630, at *8.
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